Case 2:06-cv-00450-FSH-PS             Document 1       Filed 01/31/06      Page 1 of 3 PageID: 1



DS/1716
SPEVACK & CANNAN, P.A.
525 Green Street
Iselin, NJ 08830
Phone No: (732) 636-3030
Attorneys for Plaintiff


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

N210944/ccl
RAHAT TARIQ,                                      )
                                                  )
                               Plaintiff,         )
vs.                                               ) CIVIL ACTION NO.:
                                                  )
H A R T S FI E L D - J A C K S O N A T L A N T A )
INTERNATIONAL AIRPORT; DEPARTMENT )
OF AVIATION OF THE CITY OF ATLANTA; )
AIRTRAN AIRLINES, INC.; “ABC CORPS." ) COMPLAINT AND JURY DEMAND
(one through seven, fictitious names, true names )
being unknown); and "JOHN DOES" (one )
through seven, fictitious names, true names being )
unknown),                                         )
                                                  )
                               Defendants         )
                                                  )

                                          JURISDICTION
               The United States District Court has original jurisdiction founded upon the existence

of complete diversity in the subject matter, in accordance with 28 U.S.C. § 1332. Plaintiff, Rahat

Tariq, has, at all times pertinent to this Complaint, been a resident of the State of New Jersey. The

defendants, Hartsfield-Jackson Atlanta International Airport and the Department of Aviation of the

City of Atlanta, have, at all times pertinent to this Complaint, been residents of the State of Georgia.

More specifically, defendants Hartsfield-Jackson Atlanta International Airport and the Department of

Aviation of the City of Atlanta currently reside at 6000 North Terminal Pkwy., City of Atlanta, State

of Georgia. Defendant AirTran Airlines, Inc. is incorporated in the State of Delaware, with

headquarters in the State of Florida. The amount in controversy is in excess of $75,000.00.




                                                   1
Case 2:06-cv-00450-FSH-PS            Document 1         Filed 01/31/06     Page 2 of 3 PageID: 2



                                           COMPLAINT
               The plaintiff, Rahat Tariq, residing at 1184 Green Street, Township of Woodbridge,

County of Middlesex, State of New Jersey, by way of Complaint against the defendants herein,

says:

                        INFORMATION COMMON TO ALL COUNTS
               1. Plaintiff, Rahat Tariq, has been a resident of the State of New Jersey at all times

relevant to this complaint.

               2. Upon information and belief, defendant Hartsfield-Jackson Atlanta International

Airport has is the owned and operated by defendant Department of Aviation of the City of Atlanta.
               3. Defendant AirTran Airlines, Inc. is an operator of a commercial airline with a

central hub located at the Hartsfield-Jackson Atlanta International Airport.

               4. Defendants “ABC Corps.” are management companies, leaseholders, tenants,

and operators of commercial airlines charged with the maintenance, repair, and supervision of

Hartsfield-Jackson Atlanta International Airport.

               5. Defendants “John Does” are owners, operators, employees, agents, contractors

and individuals charged by defendants, Hartsfield-Jackson Atlanta International Airport,

Department of Aviation of the City of Atlanta, and “ABC Corps.” with the maintenance, repair,

and supervision of Hartsfield-Jackson Atlanta International Airport.

                                          FIRST COUNT
               6. On or about February 7, 2004, the defendants, their agents and/or servants did

own, control, lease, repair, maintain, and supervise a certain property located at the Hartsfield-

Jackson Atlanta International Airport, Atlanta, Georgia.

               7. At the time and place aforesaid, the plaintiff Rahat Tariq was lawfully upon said

premises as a business invitee.

               8. The defendants, their servants and/or agents did negligently and carelessly

perform the acts and conduct described in paragraph one, causing plaintiff to slip, trip, and fall.


                                                    2
Case 2:06-cv-00450-FSH-PS               Document 1      Filed 01/31/06      Page 3 of 3 PageID: 3



                9. As a direct and proximate result of the negligent and careless conduct of

defendants, plaintiff was caused to fall and sustained diverse, painful and permanent injuries; she

was unable and will in the future be unable to pursue her usual duties, occupation and

responsibilities; and as a further result thereof, hospital treatment, medical treatment and medicines

were necessary for the care and treatment of the plaintiff Rahat Tariq.

                WHEREFORE, the plaintiff, Rahat Tariq, demands judgment against the

defendants, individually, jointly, severally and in the alternative for money damages besides costs

of suit of the First Count.

                                           JURY DEMAND

                PLEASE TAKE NOTICE, that the plaintiff herein demands a trial by jury of the

within cause of action on all issues.

                              DESIGNATION OF TRIAL COUNSEL
                David R. Spevack, Esq. is hereby designated as trial counsel.

                                          TIME UNIT RULE
                Pursuant to Rule 1:7-1(b), plaintiff will utilize the time unit argument, and this shall

serve as notice to the defendant of that argument. As required by Rule 1:7-1, the trial judge shall

instruct the jury with respect to this argument, and the suggested instruction is as follows:

                "Plaintiff has utilized an argument in the summation that you can consider damages

on a time unit basis. This is permissible argument but does not constitute evidence.”

                         CERTIFICATION PURSUANT TO RULE 4:5-1
                I hereby certify that the within matter in controversy is not subject of any other

action or arbitration proceedings nor is any contemplated.


                                                               SPEVACK & CANNAN, P.A.
                                                               Attorney for Plaintiff

                                                               /s/ DS1716
Dated: January 30, 2006
DRS/ccl                                                        DAVID R. SPEVACK

                                                   3
